   Case 1:23-cv-00298-MN Document 9 Filed 04/10/23 Page 1 of 2 PageID #: 83




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ROTHSCHILD BROADCAST
DISTRIBUTION SYSTEMS, LLC,

               Plaintiff,
                                                          Cause No. 1:23-cv-00298-MN
       v.
                                                           JURY TRIAL DEMANDED
THE TEACHING COMPANY, LLC,

               Defendant.


                            DEFENDANT’S MOTION TO DISMISS
                             FOR FAILURE TO STATE A CLAIM

       Pursuant to D. Del. LR 7.1.2, Defendant The Teaching Company, LLC respectfully moves

this Court to dismiss Plaintiff Rothschild Broadcast Distribution Systems, LLC’s Complaint,

pursuant to Federal Rule of Civil Procedure 12(b)(6), for failure to state a claim upon which relief

can be granted.

       The grounds for this motion are further set forth in Defendant’s Opening Brief in Support

of its Motion to Dismiss for Failure to State a Claim, which is being filed contemporaneously

herewith.
   Case 1:23-cv-00298-MN Document 9 Filed 04/10/23 Page 2 of 2 PageID #: 84




Dated: April 10, 2023                  Respectfully submitted,

                                  By: /s/ Jeremy D. Anderson
                                      Jeremy D. Anderson (Bar No. 4515)
                                      222 Delaware Avenue, 17th Floor
                                      Wilmington, Delaware 19801
                                      (302) 652-5070 (Telephone)
                                      (302) 652-0607 (Facsimile)
                                      janderson@fr.com

                                      Neil J. McNabnay (pro hac vice forthcoming)
                                      Ricardo J. Bonilla (pro hac vice forthcoming)
                                      Michael A. Vincent (pro hac vice forthcoming)
                                      1717 Main Street, Suite 5000
                                      Dallas, Texas 75201
                                      (214) 747-5070 (Telephone)
                                      (214) 747-2091 (Facsimile)
                                      macnabnay@fr.com
                                      rbonilla@fr.com
                                      vincent@fr.com

                                  COUNSEL FOR DEFENDANT
                                  THE TEACHING COMPANY, LLC
